






NO. 07-02-0081-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JUNE 18, 2002



______________________________




WARREN P. CANADY, APPELLANT



V.



GARY D. GIFFORD, APPELLEE




_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 088523-00-E; HONORABLE ABE LOPEZ, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

	Appellant Warren P. Canady, an inmate proceeding pro se, challenges the trial court's
order dismissing as frivolous his action against appellee Gary D. Gifford, a security officer
employed by the Institutional Division of the Texas Department of Criminal Justice. 
Appellant's brief was due to be filed by April 15, 2002.  In response to Canady's letter of April
25, 2002, in which he requested that the clerk's record be forwarded to him for preparation
of his appellate brief, this Court complied and forwarded the record with instructions that the
record be returned no later than June 17, 2002.  After the brief was not filed nor was a motion
for extension of time, by letter dated May 16, 2002, this Court notified Canady of the defect
and also directed him to reasonably explain the failure to file a brief together with a showing
that appellee had not been significantly injured by the delay by May 28, 2002.  Canady
responded by letter dated May 22, 2002, expressing his request for this Court to permit the
pleadings in the clerk's record to serve in lieu of an appellate brief.  The clerk's record was
timely returned to the Clerk of this Court.  

	A pro se litigant is held to the same standards as licensed attorneys and must comply
with applicable laws and rules of procedure.  Holt v. F.F. Enterprises, 990 S.W.2d 756, 759
(Tex.App.-Amarillo 1998, no pet.).  If a pro se litigant is not required to comply with the
applicable rules of procedure, he would be given an unfair advantage over a litigant who is
represented by counsel.  Greenstreet v. Heiskell, 940 S.W.2d 831 (Tex.App.-Amarillo 1997),
reh'g denied, 960 S.W.2d 713 (1997).  The requisites of an appellate brief are set forth in
Rule 38.1(a) through (j) of the Texas Rules of Appellate Procedure.  Pleadings contained in
a clerk's record do not fulfill those briefing requirements.  Further, Rule 38.8(a) provides that
failure to file a brief in a civil proceeding is grounds for dismissal for want of prosecution.

	Accordingly, we dismiss this appeal for want of prosecution and for failure to comply
with an order of this Court.  See Tex. R. App. P. 38.8(a)(1) and 42.3(a) and (c).


						Don H. Reavis

						    Justice

								

Do not publish.


